                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

WILLIAM TATE, et al.,
          Plaintiff,
                                            Case Number 3:14-cv-00242-JWS
v.

UNITED STATES OF AMERICA,
          Defendant.                        JUDGMENT IN A CIVIL CASE


     JURY VERDICT. This action came before the court for a trial
by jury. The issues have been tried and the jury has rendered its
verdict.


 XX DECISION BY COURT. This action came to trial or hearing
before the court. The issues have been tried or heard and a
decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

     THAT Plaintiffs, William Tate and Susie Sours as Co-Guardians
of Cynthia Tate, recover of defendant, United States of America,
the sum of $3,612,315.00; that William Tate and Susie Sours as Co-
Guardians of the first minor M.T. recover $38,500.00, that William
Tate and Susie Sours as Co-Guardians of the minor T.T. recover
$38,500.00, that William Tate and Susie Sours as Co-Guardians of
the second minor identified as M.T. recover $38,500.00; that
William Tate individually recover $77,000.00; and that Martha
Hacker recover $38,500.00 for a total judgment of $3,843,315.00
with postjudgment interest thereon at the rate of 1.18% as provided
by law.

 NOTE: Award of prejudgment interest, costs and attorney's fees are governed
 by D.Ak. LR 54.1, 54.3, and 58.1.

 APPROVED:
 s/ John W. Sedwick
 John W. Sedwick
 United States District Judge
                                                  Lesley K. Allen
 Date: June 14, 2017                               Clerk of Court


[Jmt1-with fees and costs - rev. 1-13-16]




     Case 3:14-cv-00242-JWS Document 187 Filed 06/14/17 Page 1 of 1
